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                               UNITED STATES DISTRICT COURT
                               SO UTH ER N DISTRICT O F FLOR ID A

                               CASE N O . 24-M J-03414-Elfenbein

   UNITED STA TES O F AM EW CA



   VERN ON GR EEN ,
         D efendant.
                                             /
                                     CRIM INAI,CO VER SH EET
      l. D id thism atteroriginatefrom a m atterpending in theN orthern Region oftheU nited States
         Attorney'sOffkepriortoAugust8,2014(M ag.JudgeShaniekM .M aynard)?No
      2. Did thism atteroriginate from a m atterpending in the CentralRegion ofthe U nited States
         Attorney'sOftkepriortoOctober3,2019(Mag.JudgeJaredM .Strauss)?No
      3. Did this m atter involve the paticipation of or consultation w ith now M agistrate Judge
         Eduardo 1.Sanchez during histenure atthe U .S.Attorney's Office,which concluded on
         January 22,2023? N o

      4. Did this m atter involve the participation of or consultation now M agistrate Judge M arty
         Fulgueira Elfenbein during hertenure atthe U .S.Attorney's Office,w hich concluded on
         M arch 5,20247N o
                                                      R espçctfully subm itted,

                                                      M AIG EN ZY LM O IN TE
                                                      UN ITED STATES ATTORN EY
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                                                       M BI-- E Dw..W        N      g
                                                       A ssistantU nited StatesA ttorney
                                                       Florida BarN o.:109315
                                                       99 N .E.4th Street,5th Floor
                                                       M iam i,Florida 33132
                                                       (305)961-9240
                                                       Abbie.W axman@usdoj.gov
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AO91(Rev.08/09)CriminalComplaint

                                U NITED STATES D ISTRICT C OURT
                                                            forthe
                                             '
                                                 Southern DistrictofFlorida

               United StatesofAmerica
                           V.
                                                                    CaseN o. zy-M l-tl3yly-Elfenbein
                    Vernon Green,


                       Defendant.

        CRIM INM ZCOM PLAINT BY TELEPH ONE OR OTH ER RELTARLE ELECTRONIC M EANS

       1,the com plàinantin thiscase,statethatthefollowing istnzetothebestofmy know ledgeand belief.
Onoraboutthedatets)of               onoraboutJune21-23,2024       inthecounty of                  Mi
                                                                                                   ami-Dade        inthe
   Southern    Districtof                Florida          ,thedefendantts)violated!
           CodeSection                                                OfenseDescription
     18U.S.C.j2261A                                      Stalking
     18U.S.C.j924(c)(1)(A)                               Use ofa Firearm infurtherance ofacrime ofviolence




        n iscriminalcomplaintisbmsed on thesefacts:
        SEE AU ACHED AFFIDAV IT.




        V Continuedontheattachedsheet.

                                                                                                                 Badge 10072
                                                                                        Complainant'ssignature

                                                                              ConorGoepel.Speci
                                                                                              alAcentFBI
                                                                                        Printednameand title

AttestedtobytheApplicantinaccordancewiththerequirementsofFed.R.Crim.P.4.lby Face Tim e.                  '
                                                          M y          ..-  r 'P         .f
                                                                                          ,          .

                                                             :7 l  . .    .         .
                                                                                      :1                          ' '
Date: 7/13/2024                                                                j.z.
                                                                                  * '         .

                                                                                          J    e'
                                                                                                ssignature

City and state:                     Miami,Fl
                                           orida                      Hon.Ma* Ful
                                                                                guei
                                                                                   raEl
                                                                                      fenbein,Uni
                                                                                                tedStatesMagistrateJudge
                                                                                        Printednameand title
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                      AFFIDA VIT IN SUPPO RT O F CRIM IN M ZCO M PLM NT
           YourA ffiant,ConorS.Goepel,being duly sw onz,deposesand stztesas follow s:
                         INTR ODU CTION A ND AG EN T BA CK G R OU ND

                  1am a SpecialAgentfortheFederalBureau ofInvestigation (çTBl'')currently
    assigned to the V iolentCrim es/Fugitive Task Force in the M iam iDivision. 1have been an FB1

    SpecialA gentsince Septem ber2021and havebeen assigned to theM iam iDivision sinceFebruary

    2022. Iam an investigative or1aw enforcem entofficerofthe U nited Statesw ithin the m eaning of

    Title 18,United States Code,Section 2510(7),in thatI am empowered by law to conduct
    investigations of,and to m ake arrests for,federaloffenses. As a SpecialA gentforthe FBI,m y

    duties involve the investigation of a variety ofviolations of federaloffenses,including,butnot

    lim ited to,bank robberies,HobbsActrobberies,extortion,and m urderforhire.

           2.     Iam currently a m em ber ofthe South Florida V iolentCrim e Task Force. As part

    of m y professional duties and responsibilities, I have becom e fam iliar w ith the investigative

    m ethods and enforcem ent of violent crim es pertaining to state and federal law s. l have also

    becom e versed in m ethodologiesand practicesem ployed by individualsand groupsw ho comm it

    violentcrim es.

                  The facts contained in this Affidavit are based on m y personalknow ledge and

    inform ation provided to m e by otherlaw enforcem entoffk ers.This Affidavitis being subm itted

    forthelim itedpulpose ofestablishing probable causefortheproposed complaint,and assuch does

    not contain every factknown to m e. I respectfully subm itthatbased upon the facts presented

    below,that there is probable cause to believe thatV ernon GREEN com m itted the offenses of

    interstatesulking,in ViolationofTitle 18,United StatesCode,Section 2261A(2)and useofa
    firearm in furtherance ofa crim e ofviolence,in violation ofTitle 18,U nited StatesCode,Section

    924(c).
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                                       PRO BABLE CA USE
                                           Background
           4.     Since July of 2022,severallaw enforcem ent agencies have been assisting in the

    investigation ofa seriesofeventsthattargeted V ICTIM l,a residentofM iam i-D ade County,and

    hersister.These eventsinclude an apparentpoisoning,two separate vehicle arsonsatVICTIM 1's

    sister's residence in M iam i, a hit and run at V ICTIM 1's residence in Pinecrest, Florida

    (hereinaRer,'EVICTIM 1'sResidence''),andthemailingofathreatening letterto VICTIM 1all
    occurring between as early as2019 and through on oraboutSeptem ber26,2023.

           5.     Specifically,astothehitand run thatoccurred atVICTIM 1'sResidenceon August

    30,2023,law enforcem entresponded after a Hom e D epotrentaltruck ram m ed into the side ofa

    vehicle operated by V ICTIM 1 and then tled the scene.The incidentw ascaptured on V ICTIM 1's

    hom evideo surveillance system .The investigation revealed thatthe Hom e Depottruck wasrented

    atthe CoconutGrove Hom e Depotin M iam i-Dade County,w hereEdnerETIE'
                                                                        N NE exited atruck

    registered to M ichaelDULFO and drove the Hom e Depottruck outofthe parking lot.Licenàe

    Plate Reader data revealed that DULFO 'S truck follow ed V ICTIM 1's vehicle as she left

    downtown M iam ifrom a courthearing involving her divorce proceeding from her estranged

    husband,Sergio PlN O .

           6.     In addition to D ULFO and ETIEN NE,the investigation revealed thatD ULFO w as

    comm unicating w ith Jerren H OW A RD and Bayron BEN NETT.ENN ETT,D ULFO,HO W A RD ,

    andETIENNE wereoriginallychargedbycomplaint,CaseNumbers24-mj-02454-1.M R and24-
    mj-02460-LMR,andlaterindictedforStalking,Arson,andUseofanInterstateFacilityinAidof
    Racketeering,in Case N um ber24-CR-201IO-G AYLES.
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                             The Assaultwith a Firearm .June 23,2024

                  On June 23,2024,atapproxim ately 8:45 am ,V ICTIM 1,departed herresidence in

   hervehicle.Atapproximately 1l:30 am ,VICTIM 1returnedtoherresidenceand mom entarily idled in her

   driveway whileshewaited forthegate on the westsideofthe houseto open.AsVICTIM 1 began to pull

   into the driveway,sheobserveda black male individual(lpteyideptiAed by lpF enforcçrqept.as.vernoq
   Green(çIGIkEEN''I,brandishingafirearm andrunningtowardhervehicle.Infearforhersafety,andinan
   attem ptto getaway,VICTIM 1 drove into herbackyard,scraping thesides ofhercaragainsta tree and a

   fence.VICTIM 1continuously honked the horn ofhercarasshe attempted to getaway. GREEN pursued

   hervehicle by footand ran into the backyard beforehe turned around and ran back toward the frontof

   VICTIM 1'sResidence.

           8.     D uring thistim e,V ICTIM 1'sdaughter,VICTIM 2,wasinsideVICTIM 1'sResidence

   when she heard a loud crash and a vehicle honking. W CTIM 2 exited the west door of VICTIM 1's

   Residenceand ran towardthe fzontofthehouse. Asshe reachedtheopen gate,VICTIM 2 noticed ablack

   pickup truckparkedonthestreet.GREEN,coming from theback ofthehouse,ran upbehindVICTIM 2
   and pointed afirearm atVICTIM 2'shead.Upon GREEN 'Sapproach,VICTIM 2t'urned around and saw

    GREEN ashepointed a silverpistolinchesfrom herface.GREEN v abbed VICTIM 2'sarm andtold her

   to goback into thehouse.VICTIM 2then ran back toward theexitshecamefrom.

           9.     AfterVICTIM 2 tled,GREEN ran acrossthefrontyard ofW CTIM 1'sResidencetoward

   theeastside oftheproperty.M omentslater,GREEN turned back,ran acrosstheyard,and enteredtheback

    passengerside ofablack DodgeRam pickup truck (theçr odge Ram'').TheDodgeRam then rapidly
    departedthevicinity,which re% onably indicatestherewasan additionalindividual,SUBJECT 2,acting as   .



    thegetaway driver.

                  VICTIM l'sResidenceisequippedwith surveillance camermsaffixed aroundtheproperty

    thatcaptured the incident. Thevideo footage shows:VICTIM 1aniving atherresidence and waiting for

    the gate to open;the Dodge Ram as itanives and stops on the street nextto VICTIM 1'sResidence;
                                                                                                                 -1
                                                                                                                  1
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       GREEN,wearing alight-coloredt-shirt,shorts,yellow-colored boots,abeanie,and afacecovering,exiting

       theDodgeRam 'sback passengersideand nm ning up totheVICTIM 1;andGREEN holding whatappears

       tobeafirearm inhisrighthand.Thesurveillancefootagealsoshows:VICTIM 1driving hervehicletoward

       the backyard,and GREEN pursuing her on foot;VICTIM 2 as she exits the residence;and GREEN

       approaching VICTIM 2 from behind,pointing a firearm atherhead,and grabbing herarm.

                       Law enforcementcanvassed VICTIM l's neighborhood and obtained video surveillance

       footage showing thaton June23,2024,atapproxim ately 8:46 am,theDodge Ram anived and parked on
I

       the north side ofSW 96 Street,approxim ately one block eastofVICTIM 1'sResidence.The Dodge Ram

       followed closely behind awhiteTesla(theççTesla''),which continued weston SW 96th Street,passing
        VICTIM l'sResidence. The video showsthatlessthan two minutes later,the Teslatraveled easton SW

        96th Street,pmssing VICTIM 1'sResidence.TheTeslathen continued east,passingtheDodgeRam ,which

       then im mediately depaded and followed closely behind thewhite Tesla asthey both turned north on SW

        67th Avenue. The video showsthatatapproximately 8:56 am,the Dodge Ram returned to the same spot

        whereithad previously parked and did notdepartuntilapproxim ately 11:30am,when W CTIM 1returned

        to herresidence.

                       In my training and experience,itisnotuncomm on for criminalsto use multiple carsto

        commitcrimes. In thiscase,theclose proximity ofthewhiteTesla to theDodgeRam overtim e,distance,

        and change ofdirection indicates a directrelationship between the occupants ofthe Dodge Ram and the

        whiteTesla.

                                    Ident6cationandMovementof Vehides
               13.     A furtheranalysisofsurveillancevideo obtained in thevicinity ofVICTIM 1'sResidence

        disclosed the Florida license plate DIORIaffixed to the rearofthe Tesla. lnformation obtained from the
        Florida Department of Highway Safety and M otor Vehicles,driver and vehicle information datab%e

        CDAVIDD disclosesthatthelicenseplateDIORIisregisteredtoDioriBARNARD. A datab%esearch
        showed BARNARD'Sregistered residentialaddressto belocated at2427NW 131 Circle,M iam i,Florida.
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    BA RNA RD is currently charged by crim inalcom plaintw ith violations offederallaw including,

    possession of m ore than 50 gram s of m etham phetam ine and a detectable am ount of cocaine,

    possession of a firearm in furtherance of a drug traffkking crim e,and felon in possession of a

    Greann.See24-mj-03234-Reid.
           14.     On June 24,2024,law enforcem entconducted surveillance Of.BAIINA1lD'Sresidencek

    Parked outsidethehousewasawhiteChevroletTahoe,bearing FloridalicenseplateBN5 OW L.A DAVID

    query revealed the Tahoe isregistered to BARNARD. Upon reviewing license plate reader(6tPR'')
    images,on M ay 3,2024,an LPR collected an image ofBARNARD'S residence thatcaptured the white

    Tahoe nextto a black Dodge Ram with chrom e bumpers,sim ilarin description to the Dodge Ram seen

    around VICTIM 1'sResidenceon June23,2024.In thisim age,an after-marketLED lightisvisible on the

    DodgeRam'sfrontbumper.

                   The afternoon ofJune 24,2024,FB1surveillance recovered the Dodge Ram ,w ith

    Florida license plate BPI6UV ,abandoned in the vicinity ofSW 70th A venue and SW 80th Street

    nearby W CTIM 1's Residence.Law enforcement observed an after-marketLED lightaffixed to the

    DodgeRam 'sfrontbumper,in thesameplaceastheoneseen ontheDodgeRam atBARNARD 'Sresidence.

    Thevehicleidentifcation number(11VlN'')associated with theDodgeRam,1C6R11E801MN533057,is
    repoded stolen.Based on my training and experience,perpetrators ofviolentcrim es often use a stolen

    vehicle to comm itthe crim e,and an additionalvehicle,in this casethe white Tesla,to attemptto avoid

    detection and escapethesceneofthecrim e.

                   Law enforcem ent queried for stolen vehicles and received an Orange County

    SheriffsDepartment(FL)reportsutingthattheDodgeRam wasstoleninthevicinityofOrlando,
    FL,in the early m orning hoursofM arch 31,2024.Also contained in thatreporq S.H .,the ow ner

    oftheD odge Ram ,stated thevehicle can be differentiated from sim ilarm odels,by an LED strobe

    lightaffixed to the frontbumper.
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                   Florida License Plate BPI6UV,also reported stolen,is associated with a 2013 orange
   ToyotaCorolla.lLaw enforcementlocated and interviewed,ç4A.O.,''theowner% sociated with Floridatag

   BPI6UV.Upon locating A .O.,hisvehicle,ablueDodge Ram,wasparked in the lotwith Florida license

   plate 85BM PA affixed totherear.A.O.acknowledged thecurrentplateon histruck wmsnothisandhehad

   noknowledgeofhow thatplategoton hisvehicle.A.O.told1aw enforcementthathehadrecently visited
   a W alm art. Law enforcem ent photographed and seized the plate for processing. ln my training and

   experience,perpetratorsofcrim esinvolving vehicles willtry to avoid detection by using stolen vehicles

   and switching the license plate aftixed to a vehicle used forcriminalpup oses to concealthe vehicle's

   identity.

           18.     An LPR review ofFlorida plate 85BM PA revealed thaton June 19,2024,at 8:41 pm,

   A.O.'sblueDodge Ram wasparked ataW almartin M iam i,Florida.An LPR review also docum ented a

   M azdaC-30,parked inthesameW almartat8:42 pm.A review oftheW alm al'
                                                                      tsurveillancefootageshowed

   the white Tesla drivingwith theM azdaC-30 and pulling up totheblue DodgeRam .Based onthedriving

    pattern,parldng location,and tim e spentin the parking 1otwithoutentering the store,itis rea onable to

    believe thattheoccupants ofthewhiteTesla and occupantsoftheM azda C-30 workedtogetherto steala

    license plateoffofa sim ilarmake,model,and colorvehicle in orderto place them is-attributable license

    plate on theDodgeRam.

                   On June 24,2024,FB1 located and seized the w hite Tesla w ith the license plate

    CEDIORJ''affixed to the rearofthe vehicle.A federalsearch warrant(24-mj-03231-Reid)was
    obtained, and on June 25, 2024, law enforcem ent extracted footage recorded by the Tesla's

    onboard com putersystem ,which included m ultiple cam eras capturing exterior footage.Footage

    from June 8,2024,revealed the w hite Tesla parked in the driveway ofBM kN AltD 'sresidence.



    1Itshould be noted thatduring the interview ofthe owners ofthe blue Dodge Ram and orange
    Toyota Corolla,itwasdiscovered thatthey have two Iicense plates(BPI6UV and BPI3UV)that
    were im properly affixed to theirvehicles.
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    Parked nextto the Tesla w as a black Dodge Ram w ith chrom e accents and black rim s,m atching

    the description ofthe Dodge Ram .The w hite Tesla footage show ed JOHN SON ashe w as in and

    outofthe passengerside ofthe Dodge Ram .Footage from June 20,2024,atapproxim ately 2:30

    pm ,revealed JOHN SON entering the driver's side and departing in a light-colored M azda C-30.
                           .
                               Johnson'sTelephone Num berand the M azda GJ0 -

                  A searly asFebruary 2024,and asrecentasFriday,June 28,2024,JOHN SON has

    been in conoctw ith law enforcem entusing a cellulardevice assigned telephonenum ber448-207-

    5007.During these contacts,JOHN SON callsand m essages on differentdaysand differenttim es

    ofthe day.JOHN SON has expressed thatif1aw enforcem entwishesto contacthim ,they should

    do so using the 448-207-5007 telephone num ber. Based on JOHN SON 'S contact with 1aw

    enforcem entoverthe pastseveralm onths using telephone num ber448-207-5007,1believe he is

    the ownerand userofthe device.

           21.    Sem inole Hard Rock Casino (ttl-lard Rock Casino'') advised 1aw enforcement that
    JOHNSON has an active playeraccountwith the casino. Further,surveillance footage from Hard Rock

    Cmsino showsthaton June21,2024,at8:40 am .JOHNSON arrived alonein alight-colored M azdaC-30,

    bearing Flodda license plate 95BKCV (the KMazda C-30''). The M azda C-30's Vm is
    3M VDM BDM 1RM 648633 and isthevehicle isregistered toP.V.Holding Corp,acarrentalcompany.The

    Hard Rock Casino surveillance footage also shows thatJOHNSON departed the casino asthe driverand

    soleoccupantoftheM azdaC-30.

                  Records check atP.V .Holding Corp,revealed M azda C-30 w asrented on June 14,

    2024,to D ioriBARNA RD .Thisvehicle was scheduled to be returned on June 21,2024,butwas

    notreturned untilJune 28,2024

           23.    A review of LPR database checks forthe M azda C-30 license plate revealed its

    location on June 2l,2024,at7:56:52 pm ,in thevicinity of6731K illian Drive,Pinecrest,Florida.
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    TheM azda C-30 w asim m ediately behind the stolen DodgeRam w hich hittheLPR at7:56:57 pm .

    This location is approxim ately 1.3 m iles south ofVICTIM 1'sResidence.

           24.    A dditionalLPR records indicatethaton June 22,2024,the M azda C-30 isrecorded by
    the M onroeCounty SheriffsOffice,Key Largo South LPR,Iocated imm ediately overthe Route 1 bridge

    onto Key Largo. In an interview with VICTIM 1,law enforcementlearned thatshe wasin Key Largo on

    theevening ofJune22,2024,with areservationtostay atBaker'sCay Resort(C<Resort''). On June28,
    2024,pursuant to a federal search warrant of the Dodge Ram (C&se No.24-mj-03262-Reid) law
    enforcementsearched the Dodge Ram and recovered a Resortvaletpasswith an arrivaldate ofJune 22,
    2024,and a departuredate ofJune26,2024.2Law enforcementreviewed security footage provided by the

    Resol'tand observed theDodge Ram and BARNARD'Swhite Tahoe follow VICTIM 1 into the Resort's

    parking areathrough theResort'sfrontgate.

                  On June 28,2024,pursuantto afederalsearch warrant(CaseNo.24-mj-03261-Reid),
    law enforcementobtained BARNARD'Shistoricalcellsite data from hisprovider.Upon review ofthese

    records,law enforcem ent learned thatBARNAIID called JOHNSON on the evening ofJune 22,2024,

    whileinthevicinityofW CTIV 1'sResidence.OnJune23,2024,priorto drivingthewhiteTeslato
    VICTIM 1'sResidence,BARNARD contactedJOHNSON .BARNARD again contacted JOHNSON upon

    thewhiteTesla and theDodgeRam 'sarrivaloutsideofVICTIM 1'sResidence. JOHNSON,BARNARD,

    andadditionalunidentifiedphonenumbers3thenappeartojoinagroupphonecallshortlythereafterwhile
    the Dodge Ram and the white Tesla are down the streetfrom VICTIM 1's Residence.1believe thatthe

    timingofthisphonecallinconjunctionwiththesequenceofeventsasobservedonresidentialsurveillance




    2 During an interview w ith Resortemployees,1aw enforcem entlearned that in order to obtain a
    Resortvaletpassw ith an arrivaland departure date one m usthave an existing reservation w ith the
    Resort.A subpoena forResortrecords ispending,how ever,the hotelatfirstreview w asunable to
    find a reservation associated w ith the valetpass in question.
    3A subpoena is pending w ith the carrierto identifythese num bers.
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    footageindicatesthattheindividualsinsidethevehicleswerecoordinatingtheirevenm alattack on VICTIM



           26. Pursuanttoafederalsearchwarrant(24-mj-03291-Reid)forhistoricalcellsitedata
    associated with the cellular device assigned telephone number 448-207-5007 (JOHNSON'S
    number),law enforcementplottedreleyantdatesandtimesofillterest(June22.
                                                                         and23.,.2024)whiçh .
    revealed the cellular device was connecting to cellphone towers in the vicinity ofVICTIM 1's

    Residence,Calvary ChapelM iam i,and the Resort.

           27.    On June 22,2024,betw een approxim ately 7:55 p.m .and 8:50 p.m .,cellulardevice

    assigned telephone num ber448-207-5007 utilized cellphone tow ersin thevicinity ofH om estead,

    Florida.During this tim e there w ere six phone calls between 448-207-5007 and BA RN ARD .

    Between approxim ately 9:29 p.m .and 9:44 p.m .,cellulardevice assigned telephone number448-

    207-5007 utilized cellphone tow ers in the vicinity of the Resortin K ey Largo,Florida.Upon

    arriving in the vicinity of the Resorq cellular device assigned telephone num ber 448-207-5007

    received a phone callfrom BARN ARD .

           28.     0n June 23,2024,at approxim ately 6:43 a.m .,6:59 a.m .,7:35 a.m .,and again at

    8:36 a.m .thecellulardevice connected to cellulartow ersin thevicinity ofV ICTIM 1'sResidence.

    Oftheseconnections,fouraretelephonecallsallofw hich are with BA RN ARD .Atapproxim ately

    8:58 a.m .cellulardevice assigned telephonenum ber448-207-5007,utilizesa cellulartow ernorth

    ofVICTIM 1's Residence and then atapproxim ately 9:10 a.m .itutilizes a cellulartow er in the

    vicinity ofCalvary ChapelM iam i,a church w here the victim w as located thatm orning.Calvary

    ChapelM iam iism ore than 10 m ilesaw ay from V ICTIM 1'sResidence.Between 10:03 a.m .and

    10:30 a.m .,while in the vicinity ofCalvary ChapelM iam i,the cellulardevice com m unicatesw ith

    BARN ARD . The cellular device rem ained in the area of Calvary Chapel M iam i until

    approxim ately 10:45 mm .which isconsistentw ith VICTIM l'slocation.
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           29.    ln m y training and experience,it is com m on for individuals engaged in crim inal

    activity involving m ultiple coconspirators to use cellular devices to coordinate their crim inal

    activity w hile m obile. Specifically, like in this case,w here there are individuals in m ultiple

    vehicles,it is reasonable to believe thatthey are com m unicating w ith one another to coordinate

    their effortsusing cellulardevices.Based on the consistentpattern oftelephonic com m unication,

    whilein closeproxim ity to oneanother,and V ICTIM 1,itisreasonabletobelievethatBA RN ARD

    and JOHN SON spentJune 21,22,and 23 stalking VICTIM 1in an effortto find an oppolïunity to

    comm it a crim e of violence with a fireal'm ,as indicated by the events that took place outside

    VICTIM l'sResidence on the m orning ofJune 23,2024.

                            Arresttl
                                   /./'
                                      offNxçol IdentscatlonOfGREEN
           30.     On or about July 1,2024,JOHN SON was arrested by law enforcem ent in Clay

    County,Floridapursuanttoacriminalcomplaint.See24-mj-03324-Goodman.JOHNSON waived
    his M iranda rights and provided a statem ent. In that statem ent JOHN SON revealed that he

    recruited severalindividuals,to include BARN ARD ,and his cousin Vernon GREEN ,D OB:July

        1971, for a contract to kill VICTIM 1. D uring the interview , law enforcem ent showed

    JOHN SON a stillphotograph from VICTIM 1'sresidence surveillance system during the June 23,

    2024,incident. The photograph shown to JOHN SON depicts the arm ed individual holding a

    firearm pointed atVICTIM 2. JOHN SON identitsed the gunm an from thephotograph asGREEN .

    Additionally,during JOH N SON 'S statem ent,JOHN SON conGrm ed thatGREEN wasa passenger

    in the Dodge Ram truck while the hired coconspirators stalked VICTIM l to K ey Largo on June

    22,2024.

                   Law enforcem entdeterm ined thatphone num ber786-507-9306 is associated w ith

    a Cashapp account w ith the vanity nam e ttv ernon Green.''. A review of BA RN ARD and this
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    phone num ber'scallhistoly on June 23,2024,revealed BARNA RD com m unicated with thephone

    num ber approxim ately 22 tim es,15 of w hich were phone calls. ltis reasonable to believe that

    786-507-9306 is associated w ith GREEN .A review ofcalldetailrecords show thatBA RN ARD,

    JOHN SON , GREEN , and additional coconspirators used their phones to com m unicate and

    coordinatetheirefforts during thetim e periodsin which they stalked V ICTIM .1.-

                  An analysis of GREEN 'S historical cell site records supports JOHN SON 'S

    statem ent,in thatGREEN 'S phone w as located in the vicinity ofV ICTIM 1'sresidence on June

    23,2024,aswellasthe location in w hich the black Dodge Ram w asabandoned on a nearby street.

    A dditionally, on June 22, 2024, GREEN 'S device is located in the vicinity of VICTIM 1's

    residencefrom 3:13 p.m .to 6:25 p.m .,BakersCay Resortduring thetim e in which VICTIM 1w as

    also there eating dinner,and then again atVICTIM l's residence around 9:53 p.m . GREEN 'S

    devicew asalso nearW CTIM 1'sresidence on June 11,2024,at7:20 p.m .

           33.    A fter JO HN SON 'S post M iranda statem ent, law enforcem ent identified that

    GREEN w asstaying atashelterin the W ynwood areain M iam i,Florida.Overthecourse ofseveral

    days,1aw enforcem entconfirm ed thatGREEN w asconsistently checldng in and outofthe shelter

    each day.

                  On July 12,2024,1aw enforcem entapproached GREEN atthe shelterand arrested

    him for his involvem ent in the above-described crim es. GREEN w as arrested with m inimal

    personaleffectson hisbody and requested that1aw enforcem enttransporthispersonalitem s4from

    the shelterto theFBIM iam iOffice.




    4Personalitem s werephotographed priorto transportin GREEN 'S locker.These item s included
    clothing,shoes,m iscellaneous item s,and m edication.GREEN told law enforcem ent thatthere
    were no valuable item sindluded in hispersonaleffects.
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                  Law enforcem enttransported GIIEEN to the FB1M iam iwhere he gavea statem ent

    afterwaivinghisMirandarights.In conjunctionwithwaiving hisMiranda rights,GREEN also
    provided w ritten consent for law enforcem ent to search his belongings.During the interview,

    GREEN w asshown a photograph ofthe gunm an from VICTIM 1'ssurveillance footage from the

    June 23,2024,
                'assaultand confirm ed he wasthe individualpictured w ith the fireanrp.

           36.    Law enforcem entsearched GREEN 'Spersonalbelongingsand recovered a pairof

    Tim berland bootsand green shortsresem bling the onesw orn by GREEN duringtheJune23,2024,

    assaultatW CTIM 1'sResidence.

                                           CO N CLUSIO N


                  Based upon the foregoing,lsubm itthatthere is probable cause forthe proposed

    complaintcharging GREEN withtheoffensesofinterstate stalking,in Violation ofTitle 18,United

    StatesCode,Section 2261A and use ofa Grearm in furtherance ofa crim e ofviolence,in violation

    ofTitle18,United StatesCode,Section924(c).
           FURTHER AFFG NT SAYATH NAUGHT.



                                                                                    Badge 10072
                                                     CON OR GOEPEL
                                                     SPECIA L AGEN T
                                                     FED EM L BU REAU O F IN VESTIGATION


    Attested to by the applicantin accordance w ith the requirem ents ofFed.R.Crim .P.4.1
    by Face Tim e this 13th day ofJuly 2024.


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             J' VtXL.,>>'YY--
            G'
             7
    HON OR ABLE XTARTY FULGU EIM ELFENBEIN
    UN ITED STATES M AG ISTRATE JU DGE
